

Roosevelt Lee 38 LLC v Le (2025 NY Slip Op 02737)





Roosevelt Lee 38 LLC v Le


2025 NY Slip Op 02737


Decided on May 06, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 06, 2025

Before: Webber, J.P., Scarpulla, Mendez, Rodriguez, Pitt-Burke, JJ. 


Index No. 158967/21|Appeal No. 4281|Case No. 2024-03106|

[*1]Roosevelt Lee 38 LLC, Plaintiff-Respondent,
vJustin Le, Doing Business as RXXStore Inc., Defendant, Xuhua Xu, Defendant-Appellant.


Xuhua Xu, appellant pro se.



Appeal from order, Supreme Court, New York County (Richard G. Latin, J.), entered on or about April 11, 2024, which denied defendant Xuhua Xu's motion for leave to reargue opposition to plaintiff's motion for summary judgment on its claims for breach of a lease and guaranty and dismissing the counterclaim for attorneys' fees, unanimously dismissed, without costs, as taken from a nonappealable order.
The appeal is dismissed because no appeal lies from an order denying a motion to reargue (see Matter of Penick, 212 AD3d 567, 568 [1st Dept 2023]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 6, 2025








